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                    Anti-Discrimination Center, Inc.
                                  “One Community, No Exclusion”




                                                      March 3, 2021



Hon. Laura Taylor Swain
United States District Judge
U.S. District Court for the Southern District of New York
500 Pearl Street
New York, New York 10007

              Re:     Letter-motion requesting excess pages in brief
                      Noel and Senat v. City of New York, 15-CV-5236 (LTS) (KHP)

Your Honor:

        I am co-counsel for plaintiffs, and we are now at the final round of briefing (due March
12th) in connection with plaintiffs’ motion for partial summary judgment and defendant’s cross-
motion for summary judgment. I write to request permission to submit a 54-page brief in reply to
defendant’s 68-page brief. Defendant consents to this request.



                                                      Respectfully submitted,


                                                      Craig Gurian
                                                      Craig Gurian
                                                      Co-Counsel for Plaintiffs




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